Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 1 of 12 PageID# 1393
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 2 of 12 PageID# 1394
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 3 of 12 PageID# 1395
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 4 of 12 PageID# 1396
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 5 of 12 PageID# 1397
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 6 of 12 PageID# 1398
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 7 of 12 PageID# 1399
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 8 of 12 PageID# 1400
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 9 of 12 PageID# 1401
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 10 of 12 PageID# 1402
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 11 of 12 PageID# 1403
Case 1:04-cr-00385-LMB   Document 382   Filed 09/19/14   Page 12 of 12 PageID# 1404
